  Case No. 1:20-cv-00947-DDD-KAS Document 92-5 filed 01/20/23 USDC Colorado pg 1 of
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Notice of Change of Contact Information - Roger Richards Ramsaur - Case NO: 20-cv-00947-DDD-
KLM

       seckey@protonmail.com
 SE
        Thu, 19 Jan 2023 7:17:34 AM -0600 •

   To "Valerie@YanarosLaw.com" <Valerie@YanarosLaw.com>, "Lenden Webb"
       <LWebb@webblawgroup.com>

It is my understanding that I am being requested to update my contact information with council and the court.
Copy of forms Attached


      Current Information

      Roger Richards Ramsaur
      Phone: +1 323 600 7506
      Email: SecKey@protonmail.com
      Mailing Address
      5331 S. MacAdam Ave
      Ste 258-713
      Portland, OR 97239

      In addition please alert Mr. Goode that I am in need of rescheduling any deposition required, and I
      am now in good health and have recovered from surgery. I will be proceeding Pro Se with my case
      as I wait for the Judges ruling on both the Motion to Dismiss and also the Discovery Hearing.

Please forgive my delay in reply, new information was revealed in Mr. Goodes deposition that I needed to
consult with both Law Enforcement, and Pro Se legal council, as there may now be a conflict of interest I
must bring to the attention of the courts via my answer and counter claims.

      Thank you

      Roger Richards Ramsaur


  3 Attachments


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              414.8 KB                                   507.8 KB




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              404.2 KB
